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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

   Tonya James, individually and on behalf of all others
   similarly situated;                                                   Civil Action No: ____________
                                            Plaintiff,
                                                                          CLASS ACTION COMPLAINT

                                                                           DEMAND FOR JURY TRIAL




          -v.-
   Federated Law Group, PLLC,
   Absolute Resolutions Investments, LLC and
   John Does 1-25,

                                         Defendant(s).


  Plaintiff Tonya James (hereinafter, “Plaintiff” or “James”), brings this Class Action Complaint by

  and through her attorneys, Zeig Law Firm, LLC, against Defendant Federated Law Group, PLLC

  (hereinafter “Defendant Federated”) and Defendant Absolute Resolutions Investments, LLC

  (hereinafter “Defendant Absolute”), individually and on behalf of a class of all others similarly

  situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based upon information and

  belief of Plaintiff’s counsel, except for allegations specifically pertaining to Plaintiff, which are

  based upon Plaintiff's personal knowledge.



                        INTRODUCTION/PRELIMINARY STATEMENT

         1.      Congress enacted the Fair Debt Collection Practices Act (hereinafter “the FDCPA”

     or “Act”) in 1977 in response to the "abundant evidence of the use of abusive, deceptive, and

     unfair debt collection practices by many debt collectors." 15 U.S.C. §1692(a). At that time,

                                                                                                     1
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     Congress was concerned that "abusive debt collection practices contribute to the number of

     personal bankruptcies, to material instability, to the loss of jobs, and to invasions of individual

     privacy." Id. Congress concluded that "existing laws…[we]re inadequate to protect consumers,"

     and that "'the effective collection of debts" does not require "misrepresentation or other abusive

     debt collection practices." 15 U.S.C. §§ 1692(b) & (c).

        2.      Congress explained that the purpose of the Act was not only to eliminate abusive

     debt collection practices, but also to "insure that those debt collectors who refrain from using

     abusive debt collection practices are not competitively disadvantaged." Id. § 1692(e). “After

     determining that the existing consumer protection laws ·were inadequate.” Id. § 1692(b),

     Congress gave consumers a private cause of action against debt collectors who fail to comply

     with the Act. Id. § 1692k.



                                     JURISDICTION AND VENUE

        1.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331,

     15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over the State law claims in this

     action pursuant to 28 U.S.C. § 1367(a).

        2.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

     where the majority of acts and omissions occurred.

                                        NATURE OF THE ACTION

        3.      Plaintiff brings this class action on behalf of a class of Florida consumers under

     §1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

     Collections Practices Act ("FDCPA"), and

        4.      Plaintiff is seeking damages and declaratory relief.
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                                                PARTIES

        5.       Plaintiff is a resident of the State of Florida, County of Miami-Dade, residing at 700

     NW 214th Street, Apt. 104, Miami, FL 33169.

        6.       Defendant Federated Law Group, PLLC is a "debt collector" as the phrase is defined

     in 15 U.S.C. § 1692(a)(6) and used in the FDCPA with an address at 887 Donald Ross Rd., Juno,

     FL 33408.

        7.       Upon information and belief, Defendant Federated is a company that uses the mail,

     telephone, and facsimile and regularly engages in business the principal purpose of which is to

     attempt to collect debts alleged to be due another.

        8.       Defendant Absolute Resolutions Investments, LLC is a "debt collector" as the phrase

     is defined in 15 U.S.C. § 1692(a)(6) and used in the FDCPA with an address at 6602 El Cajon

     Blvd., Ste 200, San Diego, CA 92115.

        9.       Upon information and belief, Defendant Absolute is a company that uses the mail,

     telephone, and facsimile and regularly engages in business the principal purpose of which is to

     attempt to collect debts alleged to be due another.

        10.      John Does l-25, are fictitious names of individuals and businesses alleged for the

     purpose of substituting names of Defendants whose identities will be disclosed in discovery and

     should be made parties to this action.

                                          CLASS ALLEGATIONS
        11.      Plaintiff brings this claim on behalf of the following class, pursuant to Fed. R. Civ.

     P. 23(a) and 23(b)(3).

        12.      The Class consists of:

                 a. all consumers in the state of Florida;

                 b. who were sent a collection letter from Defendant Federated;
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                 c. on behalf of Defendant Absolute;

                 d. whose letters falsely and deceptively state that litigation has been commenced,

                    when in reality no lawsuit was filed;

                 e. which letter was sent on or after a date one (1) year prior to the filing of this

                    action and on or before a date twenty-one (2l) days after the filing of this action.

        13.      The identities of all class members are readily ascertainable from the records of

     Defendants and those companies and entities on whose behalf they attempt to collect and/or

     have purchased debts.

        14.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

     partners, managers, directors and employees of the Defendants and their respective immediate

     families, and legal counsel for all parties to this action, and all members of their immediate

     families.

        15.      There are questions of law and fact common to the Plaintiff Class, which common

     issues predominate over any issues involving only individual class members. The principal issue

     is whether the Defendants' written communications to consumers, in the forms attached as

     Exhibits A and B, violate 15 U.S.C. §§ l692e.

        16.      The Plaintiff’s claims are typical of the class members, as all are based upon the same

     facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

     Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

     handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

     nor her attorneys have any interests, which might cause them not to vigorously pursue this

     action.
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        17.     This action has been brought, and may properly be maintained, as a class action

     pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

     well-defined community interest in the litigation:

                f. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

                    that the Plaintiff Class defined above is so numerous that joinder of all members

                    would be impractical.

                g. Common Questions Predominate: Common questions of law and fact exist as

                    to all members of the Plaintiff Class and those questions predominance over any

                    questions or issues involving only individual class members. The principal issue

                    is \whether the Defendants' written communications to consumers, in the forms

                    attached as Exhibits A and B violate 15 USC §1692e.

                h. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

                    The Plaintiff and all members of the Plaintiff Class have claims arising out of the

                    Defendants' common uniform course of conduct complained of herein.

                i. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

                    class members insofar as Plaintiff have no interests that are adverse to the absent

                    class members. The Plaintiff is committed to vigorously litigating this matter.

                    Plaintiff has also retained counsel experienced in handling consumer lawsuits,

                    complex legal issues, and class actions. Neither the Plaintiff nor her counsel have

                    any interests which might cause them not to vigorously pursue the instant class

                    action lawsuit.

                j. Superiority: A class action is superior to the other available means for the fair

                    and efficient adjudication of this controversy because individual joinder of all
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                    members would be impracticable. Class action treatment will permit a large

                    number of similarly situated persons to prosecute their common claims in a single

                    forum efficiently and without unnecessary duplication of effort and expense that

                    individual actions would engender.

        18.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

     is also appropriate in that the questions of law and fact common to members of the Plaintiff

     Class predominate over any questions affecting an individual member, and a class action is

     superior to other available methods for the fair and efficient adjudication of the controversy.

        19.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

     the time of class certification motion, seek to certify a class(es) only as to particular issues

     pursuant to Fed. R. Civ. P. 23(c)(4).



                                        FACTUAL ALLEGATIONS

        20.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

     numbered above herein with the same force and effect as if the same were set forth at length

     herein.

        21.     Some time prior to August 14, 2018, an obligation was allegedly incurred to

     WebBank.

        22.     The WebBank obligation arose out of transactions involving funds credited to

     Plaintiff by WebBank. Plaintiff used these funds to purchase items used primarily for personal,

     family or household purposes.

        23.     The alleged WebBank obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).
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         24.       On a date better known to Defendants, Defendant Absolute purchased or assumed

     Plaintiff’s alleged defaulted debt from WebBank.

         25.       Thereafter, Defendant Absolute contracted with Defendant Federated to collect the

     alleged debt.

         26.       Defendants Federated and Absolute collect and attempt to collect debts incurred or

     alleged to have been incurred for personal, family or household purposes on behalf of creditors

     using the United States Postal Services, telephone and internet.

                             Violation – The August 14, 2018 Collection Letter

         27.       On or around August 14, 2018, Plaintiff received a collection letter via email from

     Defendant Federated. (See Letter attached hereto as Exhibit A).

         28.       Defendant Federated’s Letter was an attempt to collect the alleged WebBank debt,

     on behalf of Defendant Absolute, with an alleged balance owed of $18,809.51.

         29.       However, the Letter fails to identify information necessary for Plaintiff to identify

     the account, namely the original account number with which the debt is associated.

         30.       More egregiously, the Letter continues, “The current creditor, Absolute Resolutions

     Investments, LLC, has hired my firm to pursue the matter in court (Case# , but I would prefer

     to work with you to resolve the matter and put this account where it belongs – in the past.”

         31.       The Letter implies that Defendants have already filed a lawsuit against Plaintiff but

     fails to provide her with any information about this suit as even the Case Number is not

     identified.

         32.       This implication of a pending lawsuit is also false and misleading since, as of the

     date of the filing of this lawsuit, Defendants have not sued Plaintiff to collect this debt.
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        33.       This language is threatening and coercive, and only used with the intent of scaring

     Plaintiff into making payment.

        34.       This language would deceive the least sophisticated consumer into believing that

     Defendants had already filed a lawsuit against her, when Defendants never had any intention of

     bringing legal action. This is merely a deceptive tactic to coerce a rushed payment from

     Defendant.

        35.       As a result of Defendants’ false, deceptive and unfair debt collection practices,

     Plaintiff has been damaged.

                            Violation – The September 13, 2018 Collection Letter

        36.       On or around September 13, 2018, Plaintiff received another collection letter via

     email from Defendant Federated. (See Letter attached hereto as Exhibit B).

        37.       Defendant Federated’s Letter was another attempt to collect the alleged WebBank

     debt, on behalf of Defendant Absolute, with an alleged balance owed of $18,809.51.

        38.       The caption of the Letter states: Absolute Resolutions Investments, LLC v. Tonya

     James.

        39.       The use of the “v” only further emphasizes Defendants’ false statements and threats

     that they have already instituted legal proceedings against Plaintiff.

        40.       This letter is deceptive and misleading since, as of the date of the within filed

     Complaint, Defendants have not sued Plaintiff to collect the debt.

        41.       As a result of Defendants’ false, deceptive and unfair debt collection practices,

     Plaintiff has been damaged.
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                                COUNT I
   VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                                  et seq.

         42.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

     above herein with the same force and effect as if the same were set forth at length herein.

         43.     Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff

     violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

         44.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

     misleading representation or means in connection with the collection of any debt.

         45.     Defendants made false and misleading representations when they falsely stated that

     a lawsuit had been filed against Plaintiff when Defendants had not done so and had no intention

     of doing so in violation of 15 U.S.C. §§1692e, 1692e(2), 1692e(5) and 1692e(10).

         46.     By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants’

     conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

     and attorneys’ fees.


                                   DEMAND FOR TRIAL BY JURY

         47.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

     a trial by jury on all issues so triable.



                                           PRAYER FOR RELIEF

  WHEREFORE, Plaintiff Tonya James, individually and on behalf of all others similarly situated,

  demands judgment from Defendant Federated Law Group, LLC and Defendant Absolute

  Resolutions Investments, LLC as follows:
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        1.       Declaring that this action is properly maintainable as a Class Action and certifying

     Plaintiff as Class representative, and Justin Zeig, Esq. as Class Counsel;

        2.       Awarding Plaintiff and the Class statutory damages;

        3.       Awarding Plaintiff and the Class actual damages;

        4.       Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

     expenses;

        5.       Awarding pre-judgment interest and post-judgment interest; and

        6.       Awarding Plaintiff and the Class such other and further relief as this Court may deem

     just and proper.



  Dated: October 25, 2018                              Respectfully Submitted,

                                                       ZEIG LAW FIRM, LLC

                                                       /s/ Justin Zeig
                                                       Justin Zeig, Esq.
                                                       3475 Sheridan St. Ste 310
                                                       Hollywood, FL 33021
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                                                       Counsel for Plaintiff Tonya James
